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NAH Utah, LLC

                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 WILDEARTH GUARDIANS; and
 PHYSICIANS FOR SOCIAL
 RESPONSIBILITY,
                                                Case No. 1:21-cv-00175-RC
        Plaintiffs.
                                                NAH UTAH, LLC’S OPPOSITION TO
 vs.                                            BLM’S MOTION FOR REMAND
                                                WITHOUT VACATUR
 DEBRA A. HAALAND, Secretary, U.S.
 Department of the Interior; and U.S. BUREAU
 OF LAND MANAGEMENT,

        Defendants,

 and

 STATE OF WYOMING; AMERICAN
 PETROLEUM INSTITUTE; NAH UTAH,
 LLC; and ANSCHUTZ EXPLORATION
 CORPORATION,

        Defendant-Intervenors.
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       On July 30, 2021, Federal Defendants moved for a voluntary remand without vacatur

(ECF No. 43) of all 1,153 oil and gas leases subject to Plaintiffs’ challenge in this case, including

the 24 leases purchased by NAH Utah, LLC as part of the September 2018 Utah lease sale (ECF

23-1, at 1 n.2). Intervenor-Defendants the State of Wyoming, American Petroleum Institute, and

Anschutz Exploration Corporation each filed oppositions to the motion for voluntary remand.

(ECF Nos. 51, 52, and 53, respectively). NAH Utah joins in the opposition of the other

Intervenor-Defendants for the same reasons stated therein—namely, that the Court must first

resolve the jurisdictional challenges raised in API’s pending motion to dismiss before

entertaining the Federal Defendants’ motion for voluntary remand.

       If, however, the Court entertains the Federal Defendants’ motion for voluntary remand,

NAH Utah opposes remand in any circumstance under which: (1) its leases are vacated; (2) its

leases are suspended; (3) BLM does not retain full authority to grant APDs during the remand

period; or (4) BLM uses the remand as justification for not processing completed APD packages.

For purposes of helium development, in particular, lease vacatur, suspension, or delayed

development would be unwarranted where (1) Plaintiffs’ claims all relate to alleged failure to

adequately account for downstream greenhouse gas (“GHG”) emissions from fossil fuel

combustion, and (2) NAH Utah’s proposed helium development is not anticipated to result in

GHG emissions from downstream fuel consumption because the reservoir targeted for

production consists of 97% nitrogen and 3% helium. ECF 23-2 ¶ 7. Thus, even if this case

proceeded through the merits and the Court found error in BLM’s GHG impact analysis, a

narrowly-tailored remedy would appropriately be limited to fossil fuel development, excepting

helium and other development that would not result in the downstream GHG emissions of which

Plaintiffs’ complain. Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 165 (2010) (“An




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injunction is a drastic and extraordinary remedy, which should not be granted as a matter of

course,” especially where “a less drastic remedy . . . [is] sufficient to redress [the plaintiffs’]

injury.”) A remand foreclosing or delaying helium development and production at this stage,

even before a decision on the merits, is unjustified. Moreover, helium has been designated by

the Department of the Interior and recognized by the Biden Administration as a critical mineral

important to our nation’s supply chain and national defense. ECF No. 23-1, at 2 n.3.

        WHEREFORE, NAH Utah opposes the motion for voluntary remand on the same bases

as the other Intervenor-Defendants.

        Respectfully submitted this 13th day of August, 2021


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                                 CERTIFICATE OF SERVICE

        I certify that on August 13, 2021, I filed this document using the Court’s electronic case-

filing system, which will serve documents on all counsel of record.



                                              /s/ Hadassah M. Reimer




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